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11

12                         UNITED STATES DISTRICT COURT
13
                         SOUTHERN DISTRICT OF CALIFORNIA
                                (Hon. Dana M. Sabraw)
14
                                                    )
15   UNITED STATES OF AMERICA,                      )   Case No. 23cr1684-DMS
                                                    )
16         Plaintiff,                               )
                                                    )   NOTICE OF MOTION AND MOTION
17   v.                                             )   TO SUPPRESS STATEMENTS
                                                    )
18                                                  )   Date: May 16, 2025
     BENJAMIN MADRIGAL,                             )   Time: 1:30 P.M.
19                                                  )
           Defendant.                               )
20                                                  )
                                                    )
21                                                  )
                                                    )
22
     TO:     ANDREW HADEN, ACTING UNITED STATES ATTORNEY
23
             STEPHEN WONG, ASSISTANT UNITED STATES ATTORNEY
24
             BRANDON KIMURA, ASSISTANT UNITED STATES ATTORNEY:
25
             PLEASE TAKE NOTICE that on May 16, 2025, or as soon thereafter as counsel
26
     may be heard, Defendant Benjamin Madrigal will move this Court to grant the following
27
     motions:
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                                              1
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1                   1. Motion to Suppress Statements.
2
     Dated this April 3, 2025.                            /s/ Michael Anthony Hernandez
3
                                                         Jason Conforti and
4                                                        Michael Anthony Hernandez
                                                         Attorneys for James Sorensen
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